            EXHIBIT 7




Case 1:17-cv-00070-WCG Filed 06/17/19 Page 1 of 5 Document 106-7
EEOC v.                                                                                                       David Smith, M.D.
Walmart                                                                                                         October 5, 2018
                                                       Page 1                                                            Page 3
 1             IN THE UNITED STATES DISTRICT COURT                   1
                                                                                                * * * * *
 2          FOR THE EASTERN DISTRICT OF WISCONSIN                    2
                                                                         Disposition Of Original Exhibit/s:
 3 --------------------------------------------------------          3
                                                                         Attached To Original Transcript
 4 EQUAL EMPLOYMENT OPPORTUNITY                                      4
   COMMISSION,
 5                                                                   5                          * * * * *
 6                  Plaintiff,                                       6
 7                                   Case No. 1:17-CV-00070          7
          -vs-
 8                                                                   8
 9 WAL-MART STORES EAST, L.P.,                                       9
10                                                                  10
                    Defendant.
11                                                                  11
   --------------------------------------------------------
12                                                                  12
13                 Video Examination of DAVID SMITH, M.D.,          13
14 taken at the instance of the Defendant, under and                14
15 pursuant to the Federal Rules of Civil Procedure, before         15
16 KARA D. SHAWHAN, a Certified Realtime Reporter,                  16
17 Registered Merit Reporter and Notary Public in and for           17
18 the State of Wisconsin, at CityCenter, 735 North Water           18
19 Street, Milwaukee, Wisconsin, on October 5, 2018,                19
20 commencing at 8:37 a.m. and concluding at 12:19 p.m.             20
21                                                                  21
22                                                                  22
23                                                                  23
24                                                                  24
25                                                                  25

                                                       Page 2                                                            Page 4
 1                      A P P E A R A N C E S
                                                                     1      TRANSCRIPT OF PROCEEDINGS
 2   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION, by
     MS. CARRIE VANCE,                                               2      (Exhibit Nos. 54 and 55 were marked.)
 3   MS. LESLIE CARTER,
     310 West Wisconsin Avenue,                                      3      THE VIDEOGRAPHER: We are now on the
 4   Milwaukee, Wisconsin 53203,
     (414)297-1130,                                                  4   record. My name is Doug vanderHoof. I'm a
 5   carrie.vance@eeoc.gov,
     leslie.carter@eeoc.gov,                                         5   videographer retained by Lexitas Reporting. This
 6   appeared on behalf of the Plaintiff.
                                                                     6   is the video deposition for the U.S. District
 7   MWH LAW GROUP, LLC, by
                                                                     7   Court, Eastern District of Wisconsin. Today's date
     MR. EMERY HARLAN,
 8   735 North Water Street,                                         8   is October 5, 2018, and the time on screen is 8:38
     Milwaukee, Wisconsin 53202,
 9   (414)436-0353,                                                  9   in the morning.
     emery.harlan@mwhlawgroup.com,
10   appeared on behalf of the Defendant.                           10      This deposition is being held at
11                                                                  11   CityCenter, 735 North Water Street in Milwaukee, in
                       A L S O    P R E S E N T
12                                                                  12   the matter of the Equal Employment Opportunity
     Mr. Doug vanderHoof, Videographer.
13                                                                  13   Commission versus Wal-Mart Stores East, L.P. The
14                             * * * * *
                               I N D E X
                                                                    14   deponent is David Smith M.D.
15                                                                  15      Could I ask counsel to please identify
16   Examination:                                           Page    16   themselves and say who they represent?
17   By Mr. Harlan......................................       5    17      MR. HARLAN: Emery Harlan of MWH Law
18                                                                  18   Group on behalf of Defendant Wal-Mart.
     Exhibits Identified:                                   Page
19                                                                  19      MS. VANCE: Attorney Carrie Vance on
     Exhibit 54 -   CV...................................      9
20   Exhibit 54A - Copy of the Notes That Dr. Smith                 20   behalf of Plaintiff United States Equal Employment
                   Prepared and Brought to the
21                  Deposition...........................      8    21   Opportunity Commission.
     Exhibit 55 -    Everything That Dr. Smith Has
22                   Prepared and Filed in Connection               22      THE VIDEOGRAPHER: Thank you. And the
                    With the Case........................     69
23   Exhibit 56 -    Set of Documents From the EEOC That            23   court reporter is Kara Shawhan. Could I ask you to
                     Purports to Represent Dr. Smith's
24                  File.................................     83    24   please swear the witness.
25                                                                  25      DAVID SMITH, M.D., called as a witness

Min-U-Script®                       www.LexitasNG.com              Lexitas      888-267-1200                      (1) Pages 1 - 4
        Case 1:17-cv-00070-WCG Filed 06/17/19 Page 2 of 5 Document 106-7
EEOC v.                                                                                              David Smith, M.D.
Walmart                                                                                                October 5, 2018
                                                 Page 37                                                       Page 39

 1 the lawsuit was inappropriate. Fair?                      1 them make that transition without it being
 2 A. I was suspicious.                                      2 difficult? And there are ways to do that. Instead
 3 Q. All right. And also at that time based on your         3 of just "You're going over here," prepare them so
 4 experience working with other Down syndrome               4 they can make the transition well.
 5 patients, you had formed an opinion that employers        5 Q. So yeah. I wasn't limiting my question to
 6 often mishandle situations -- work transition             6 situations where there was a lawsuit involved. I
 7 situations with Down syndrome individuals.                7 was asking was there ever any situations prior to
 8 Correct?                                                  8 this matter where you had worked in a proactive way
 9 A. No. When there's a problem -- When there's a           9 with an employer to address a workplace situation
10 problem, that's one of the suspicions that I have.       10 with a Down syndrome patient of yours?
11 I think there's a lot of great employers out there       11 A. In a proactive way? No. Because it's usually
12 who do a very good job handling situations like          12 after they've come to me and there's been a
13 this or are sensitive to it and do a very good job.      13 problem.
14 Q. So when you --                                        14 Q. So even after a patient has arrived at the clinic
15 A. But in this case from the -- from the reading that    15 and made you aware of a problem in the patient's
16 I had, I was very suspicious.                            16 workplace, even in those situations, prior to
17 Q. So help me then understand your analogy of the        17 working with the EEOC in this lawsuit, had you ever
18 water flowing downhill. So did that relate to            18 on behalf of the patient reached out to an employer
19 employers that you have personal knowledge of given      19 to try to give the employer help in navigating the
20 your work with certain Down syndrome patients?           20 situation?
21 What did that analogy apply to?                          21 A. I give information to the family or the person who
22 A. That applied to when there's a problem.               22 brought them in, if they're at a group home or
23 Q. Okay.                                                 23 such, and then they have -- they have normally just
24 A. When there's a problem.                               24 gone -- you know, followed my suggestions. And I'm
25 Q. So prior to -- Well, at the time that you reached     25 not a -- You know, I usually have somebody else


                                                 Page 38                                                       Page 40

 1 out to the EEOC to help them in their lawsuit             1   work with them directly on it, but I give the -- I
 2 against Wal-Mart, you had already experienced many        2   give the advice about how to make a transition
 3 times in situations where there was a problem with        3   work.
 4 your patients that the employer had done something        4   Q. So if I understand your testimony then, on the
 5 inappropriate.                                            5   situations where you have had advice to offer an
 6 A. No. I wouldn't say that. I would say that there        6   employer, you've never given that advice to the
 7 was a problem with transitions, whether it's an           7   employer. You've given it to your patient or some
 8 employer, a sheltered workshop, a school, or it           8   other third party with the possibility that they
 9 could be a home, that there is a problem, and some        9   may convey it to the employer.
10 of those have been employers.                            10   A. Well, they have -- They've come to me for the
11 Q. Okay. Let me ask you --                               11   problem, and yes, from what I can gather, they've
12 A. I like employers.                                     12   always gotten back in touch with the employer. The
13 Q. Okay. And along those lines, at the time that you     13   employer is often a sheltered workshop. So they're
14 had reached out to the EEOC about this matter, had       14   usually sensitive to these sorts of things.
15 you ever volunteered your services for any               15   Q. But to be clear --
16 employer?                                                16   A. I haven't worked directly with them.
17 A. No.                                                   17   Q. And nor have you contacted any employer to help
18 Q. Had you ever worked with any employer in terms of     18   them try to deal with a workplace issue.
19 helping them handle a particular situation with a        19   A. I haven't had to.
20 Down syndrome patient of yours.                          20   Q. And you haven't. Correct?
21 A. I may have given some advice in terms of how to       21   A. I have not.
22 work it better, but none of them were at this            22   Q. And notwithstanding the fact that you don't have a
23 point, where there was a legal concern. So for           23   great current relationship with your ex-wife, it
24 example, somebody might be moving from one part of       24   sounds like, you have a good relationship with your
25 a workshop to another part, and how do you help          25   son. Right?

Min-U-Script®                   www.LexitasNG.com          Lexitas      888-267-1200                  (10) Pages 37 - 40
       Case 1:17-cv-00070-WCG Filed 06/17/19 Page 3 of 5 Document 106-7
EEOC v.                                                                                                David Smith, M.D.
Walmart                                                                                                  October 5, 2018
                                                   Page 137                                                     Page 139

 1   Q. Did you ask her, for instance, whether -- after         1 A. Yeah. Well, this was in reference to a question
 2   your schedule changed whether you at least worked          2 that you had asked, and I said that, you know, I
 3   the amount of hours or the hours that you had              3 can see how she might have been thrown off --
 4   previously been assigned?                                  4 Q. Right.
 5   A. No.                                                     5 A. -- from her schedule. It's nothing Amy Jo said.
 6   Q. And you're saying that information has no relevance     6 It's what you said.
 7   in terms of whether her reason for not being able          7 Q. No. I asked you if she wasn't even working until
 8   to work the new schedule is due to the fact that           8 4, would that change your opinion? And your answer
 9   her routine was interrupted?                               9 was "No. And the reason it doesn't is because she
10   A. I don't believe so.                                    10 was thrown off by the change of schedule." And so
11   Q. Okay.                                                  11 my question is, since that's your opinion, what did
12   A. I don't think it had anything to do with it.           12 you hear from Amy Jo, Marlo, or review in the
13   Q. Pardon?                                                13 documents that gives you a basis for that opinion
14   A. I don't think it would change my opinion.              14 that she was thrown off by the fact that she was
15   Q. Okay. And why is that something that wouldn't be       15 asked to work -- instead of working 12 to 4, she
16   relevant to the opinions that you've given?               16 was asked to work the same days from 1 to 5:30?
17   A. Well, like I said earlier, there's -- it's not         17 A. I'm not sure exactly what you're asking here.
18   unusual to have some variation. I mean, that's            18 Q. Okay. So let me try to break it down. I asked you
19   just -- She's thrown off her schedule. So she's --        19 "Would it change your opinion, sir, if you learned
20   She may do things differently from one day to the         20 --" Because apparently you don't know this. Right?
21   next. She's confused. If I understand what you're         21 You don't know that there were days that she didn't
22   saying.                                                   22 even work until 4 after her schedule changed.
23   Q. Okay. And when you say "she's confused," did she       23 A. I don't know -- You're telling me that I didn't.
24   tell you anything during the examination of her           24 When I looked through the record I may have seen
25   that indicated that she had this confusion?               25 that. I don't recall that.


                                                   Page 138                                                     Page 140

 1 A. She wouldn't do that. I wouldn't expect her to say        1   Q. Okay.
 2 that.                                                        2   A. But that doesn't mean that I didn't know that at
 3 Q. And did Amy Jo tell you that she was confused about       3   one point.
 4 the new schedule?                                            4   Q. Okay.
 5 A. No. I don't know that Amy Jo would know that.             5   A. Yeah.
 6 Q. Did you ever -- Are you saying that you can give an       6   Q. So --
 7 opinion to a reasonable degree of medical certainty          7   A. But it would not change my opinion.
 8 that she was confused by the new schedule?                   8   Q. It wouldn't change your opinion.
 9 A. I didn't say she was confused by the new schedule.        9   A. No.
10 I said that the change in the schedule would throw          10   Q. Okay. And what you said is the reason it wouldn't
11 her off so that other portions of her life,                 11   change your opinion is because you think she was
12 including her work schedule and all that, could be          12   thrown off by the new schedule that required her to
13 thrown off. She's under stress. If you've been              13   work different hours.
14 under stress, it doesn't affect just the thing that         14   A. This new schedule and the pressure that she was
15 stresses you. There are other -- It affects how             15   under to try to get into that new schedule, yes. I
16 you go about your day in other areas too. So                16   mean, like I said, when you're under stress, it
17 you're stressed at school. You might -- that will           17   impacts all of your life, not just that one
18 have an impact on your stress at home or how you            18   single --
19 act at home. That's just how people work.                   19   Q. Okay.
20 Q. And I guess what I'm looking for then is what did        20   A. -- thing.
21 you -- What were you told by Amy Jo or what did you         21   Q. So it's the new schedule and the stress that she
22 see in the records that you reviewed that leads you         22   experienced trying to adhere to that schedule. And
23 to the -- to have the opinion that she was thrown           23   so I'm asking you, what did you hear from Amy Jo,
24 off by the new schedule? I think that was your              24   Marlo, or from the documents -- or did you see in
25 testimony.                                                  25   the documents that you reviewed prior to giving

Min-U-Script®                     www.LexitasNG.com           Lexitas      888-267-1200               (35) Pages 137 - 140
        Case 1:17-cv-00070-WCG Filed 06/17/19 Page 4 of 5 Document 106-7
EEOC v.                                                                                                David Smith, M.D.
Walmart                                                                                                  October 5, 2018
                                                   Page 141                                                     Page 143

 1   your opinions that gives you a basis to say "That's        1 records, is after they changed the schedule.
 2   why she couldn't comply with the schedule"?                2 Q. Okay. And I take it that you would agree that
 3   A. Well, I know what I've learned by working with          3 there's a myriad of other factors, right, aside
 4   people with Down syndrome. I know that they have           4 from those that you've mentioned, that could
 5   -- This is a story that I've heard before -- or            5 account for someone like Marlo basically not
 6   similar story. And they have trouble changing              6 wanting to work the new schedule. Right?
 7   often -- not always, but often changing schedules          7 A. That's --
 8   or -- Transitions is the term that refers to it in         8    MS. VANCE: Objection, vague.
 9   general, but change in routine. Those can be very          9    THE WITNESS: Yeah. I mean --
10   difficult for people with Down syndrome.                  10    BY MR. HARLAN:
11       And, you know, can I tell you what's                  11 Q. Well, there are other -- Let me -- Hold on. Don't
12   going on in someone's head? I can't tell you              12 answer the question.
13   what's going on inside your head. But I can tell          13 A. Sure.
14   you that -- and neither do you? But at any rate,          14 Q. Would you agree with me that there are other things
15   you know, she's -- It's difficult. It's difficult.        15 besides what you just testified to that could
16   She's having trouble. I don't know how else to put        16 explain why Marlo Spaeth was not following her new
17   it.                                                       17 schedule?
18   Q. So so far, based on what I just heard you say, that    18 A. Physicians look at patterns. They look at the --
19   -- and tell me if I'm misinterpreting what you're         19 kind of what's going on, what they're familiar
20   saying. Marlo Spaeth has Down syndrome.                   20 with, what they've seen happen. And based upon
21   A. Um-hum.                                                21 that, I would say that it was the schedule change.
22   Q. Okay? These are the things that you're basing your     22 I also did not see other medical conditions that
23   opinion on that she couldn't adapt to the new             23 seemed to contribute to that.
24   schedule.                                                 24 Q. So part of how you got to the conclusion that it
25   A. Um-hum.                                                25 was the schedule change that -- Part of how you got


                                                   Page 142                                                     Page 144

 1 Q. She has Down syndrome. In your clinical                   1 to the conclusion that the schedule change
 2 experience, people with Down syndrome have trouble           2 -- Strike that. Part of how you got to the
 3 making transitions.                                          3 conclusion that Ms. Spaeth's Down syndrome
 4 A. Correct. Not all of them, but the majority.               4 condition combined with the schedule change
 5 Q. Yes. Thank you for clarifying.                            5 accounted for her having these difficulties meeting
 6 A. And the book puts that in there.                          6 the schedule is the fact that you didn't see other
 7 Q. Some Down syndrome individuals -- individuals with        7 problems -- other indications in her medical
 8 Down syndrome have difficulty with transitions like          8 history that would explain it, and you didn't see
 9 being assigned a new work schedule.                          9 anything in her work record that would explain it.
10 A. Correct.                                                 10 So, for instance, you didn't see that she had a
11 Q. Okay. And Ms. Spaeth was reported to be having           11 pattern of not adhering to her old work schedule.
12 difficulties after her schedule changed.                    12 A. No. In fact, the reports are that she was doing
13 A. Not only reported, but she lost her job because of       13 well.
14 it.                                                         14 Q. Right. And so part of how you got to your
15 Q. So is that the sum total of the things that you          15 conclusion is because you -- you saw those facts.
16 relied upon in issuing the opinion that you've              16 Right?
17 issued in this case -- one of the opinions -- in            17 A. Um-hum.
18 terms of the fact that there was a causal                   18 Q. Is that "yes"?
19 connection between her Down syndrome connection and         19 A. Yes. I'm sorry.
20 the difficulties that she faced in adhering to the          20 Q. Okay. But aside from that, like one explanation
21 new schedule?                                               21 could be that she didn't want to work those hours.
22 A. And there was the temporal -- the time -- temporal,      22 Right? Having nothing to do with the fact that she
23 the time. Before that she was doing pretty well.            23 has Down syndrome, she frankly wanted to be home by
24 She had a record of doing well at work. Where she           24 6. Isn't that a possible explanation for why she
25 started to have trouble is, according to the work           25 wasn't working the hours?


Min-U-Script®                     www.LexitasNG.com           Lexitas     888-267-1200                (36) Pages 141 - 144
        Case 1:17-cv-00070-WCG Filed 06/17/19 Page 5 of 5 Document 106-7
